         Case 1:19-mc-00051-EGS Document 20 Filed 07/12/19 Page 1 of 2



UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
                                                   X

                                    :
                                    :                      No. 19-MC-00051 (EGS)
IN THE MATTER OF THE APPLICATION OF :
WP COMPANY LLC d/b/a THE            :
WASHINGTON POST FOR ACCESS TO       :                    [JOINT PROPOSED] ORDER
CERTAIN SEALED COURT RECORDS        :
                                    :
                                    :
                                                   X




       Upon consideration of the Motion For Public Access to Certain Sealed Court Records

(the “Motion”) of WP Company LLC d/b/a The Washington Post (the “Post”), all papers filed in

connection with Motion, and the hearing held on June 24, 2019, and based on the consent of the

Post and the parties in United States v. Flynn, 17-cr-00232-EGS (D.D.C.) (the “Flynn Case”), the

Court hereby ORDERS that:

       (1) Within ninety (90) days of this Order or within twenty (20) days of the sentencing of

the Defendant in the Flynn Case, whichever is sooner, the Government shall submit a status

report (the “Status Report”) to the Court explaining any need for continued sealing of any

portion of the Addendum to the Government's Memorandum in Aid of Sentencing (currently

filed in redacted form at Flynn Case ECF No. 75) and the August 22, 2017 Form FD-302 of the

interview with former FBI Deputy Assistant Director Peter Strzok (currently filed in redacted

form as Flynn Case ECF No. 77) (collectively, the “Court Documents”); and

       (2) Within ninety (90) days of the filing of the Status Report or within (20) days of the

Defendant’s sentencing in the Flynn Case, whichever is later, any remaining redactions in the

Court Documents will become public , absent a showing by the Government or an interested

party that continued sealing is warranted.
         Case 1:19-mc-00051-EGS Document 20 Filed 07/12/19 Page 2 of 2



       The Court is advised that the parties reserve all arguments as to any undecided legal

issues raised in the Motion, and are prepared to submit additional briefing on that or any other

issue that the Court determines is necessary to resolve the Motion. The Court is further advised

that the parties reserve their right to seek leave to modify the schedule set forth in this order if

changed circumstances require such modification.

           SO ORDERED.



       _________________________                               _________________
       Hon. Emmet G. Sullivan
       U.S. District Judge                                     Date




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